Case 5:17-cv-05104-PKH Document 42                        Filed 07/17/18 Page 1 of 2 PageID #: 857



                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

BELINDA LeMAIRE                                                                       PLAINTIFF,

v.                                    CASE NO. 5:17-CV-5104

MONSTER ENERGY COMPANY,
originally sued as MONSTER BEVERAGE
CORPORATION,                                                                        DEFENDANT.


                   PLAINTIFF’S RESPONSE TO DEFENDANT’S
               MOTION TO LIMIT TESTIMONY OF DR. TINA MERRITT

       COMES NOW Plaintiff Belinda LeMaire, by and through her attorneys, and for her

Response to Defendant’s Motion to Limit Testimony of Dr. Tina Merritt, states as follows:

1.     Defendant’s motion should be denied because it is undisputed that Dr. Tina Merritt was

       Plaintiff’s treating physician for her medical condition at issue, and the courts do not

       require a written report under Fed.R.Civ.P. 26(a)(2)(B) before a treating physician may

       testify as an expert witness. Further, Dr. Merritt formed her expert medical opinion

       concerning the specific cause of Plaintiff’s medical condition during the course of her

       treatment of Plaintiff, prior to this litigation; therefore, Dr. Merritt was not specially

       retained by Plaintiff on that issue for the purposes of this litigation.

2.     Defendant’s motion should be denied because Defendant has not shown that a lack of

       objective medical basis for Dr. Merritt’s diagnosis is fatal to the competency or

       admissibility of her expert testimony as a Board-certified immunologist treating Plaintiff.

       Defendant’s objections go to the weight to be given to the evidence by the Court, sitting as

       the trier of fact, not to its admissibility.

3.     Defendant’s motion should be denied in its entirety.



                                                      1
Case 5:17-cv-05104-PKH Document 42                      Filed 07/17/18 Page 2 of 2 PageID #: 858



       WHEREFORE, Plaintiff Belinda LeMaire prays the Court for denial of Defendant’s

Motion to Limit Testimony of Dr. Tina Merritt in its entirety, and for any and all other relief to

which Plaintiff may be entitled in law or equity.


                                                          Respectfully Submitted,

                                                          BELINDA LeMAIRE, Plaintiff

                                                          Joseph F. Gilker, Ark. Bar No. 85219
                                                          Christopher F. Woomer, Ark. Bar No. 96257
                                                          GILKER AND JONES, P.A.
                                                          9222 North Highway 71
                                                          Mountainburg, Arkansas 72946
                                                          Telephone: (479) 369-4294
                                                          Email: gilkerlaw@aol.com

                                                          By: /s/ Joseph F. Gilker
                                                                 Joseph F. Gilker


                                  CERTIFICATE OF SERVICE


       I, Joseph F. Gilker, hereby certify that I have electronically filed the foregoing

PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO LIMIT TESTIMONY OF DR.

TINA MERRITT with the Clerk of the Court using the CM/ECF System which will send

notification of such filing to the below named individuals, this 17th day of July, 2018.

Missy McJunkins Duke
Abtin Mehdizadegan
Cross, Gunter, Witherspoon & Galchus, P.C.
500 President Clinton Avenue, Suite 200
Little Rock, Arkansas 72201
mduke@cgwg.com
abtin@cgwg.com



                                                          By: /s/ Joseph F. Gilker
                                                                  Joseph F. Gilker


                                                    2
